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IN THE UNITED STATES I)ISTRICT COURT
F()R THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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UNITED STATES OF AMERICA
Plaintiff,
VS

KENDRA COOPER WILLIAMS,

‘-/\_/\.../~._/\_/\_./\_/\_/\,/

Defendant.

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CR. NO. 02-20497-02-Ma

 

ORDER EXTENDING SURRENDER DATE

 

Before the Court is Defendant’s motion to Extend the Surrender Date, filed l\/lay 5, 2005. The

defendant, through counsel, Linda Parson Khumalo, seeks to extend the surrender for 30 days.

lt is ORDERED that the Defendant’s motion is hereby GRANTED. The Defendant, Kendra

Cooper Wil]iams, IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the

FMC LEXINGTON SCP, 3301 Leestown Road, LeXington, KY, 40511 by 2:00 p.rn. on

MONDAY, .IUNE 6, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall

report immediately to the Office of the C]erk, Federal Office Building, 167 N. Main Street, Room 242,

Memphis, Tennessee 38103 to acknowledge by signature receipt of a copy of this Order and that the

defendant will report as ordered to the facility named above.

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ENTERED this melo day sr May, 2005.

 

. ANIEL BREEN
U ITED STATES DISTRICT JUDGE

This document entered on the docket Sheet in compliance
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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

Notice of Distribution

This notice confirms a copy of the document docketed as number 274 in
case 2:02-CR-20497 Was distributed by faX, mail, or direct printing on
May 16, 2005 to the parties listed.

 

 

Linda Parson Khurnalo

LAW OFFICE OF LINDA KHUMALO
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Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Sarnuel Mays
US DISTRICT COURT

